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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  DAVID RUBIN,

                      Plaintiffs,

        -against-                                             MEMORANDUM
                                                              AND ORDER
  HSBC BANK USA, NA, EQUIFAX                                  Case No. 20-CV-4566
  INFORMATION SERVICES LLC, AND
  EXPERIAN INFORMATION
  SOLUTIONS, INC.,
                Defendants.

  For the Plaintiff:                           For the Defendant:
  ADAM G. SINGER                               BRIAN FRONTINO
  Law Office of Adam G. Singer, PLLC           Morgan, Lewis & Bockius LLP
  60 E. 42nd Street, Ste 4600                  600 Brickell Avenue
  New York, NY 10165                           Miami, FL 33131

 BLOCK, Senior District Judge:

       Pursuant to the Fair Credit Reporting Act (“FCRA”), Plaintiff David Rubin

 (“Rubin” or “Plaintiff”) brought this action against Defendants HSBC Bank USA,

 NA (“HSBC” or “Defendant”), Equifax Information Services LLC (“Equifax”), and

 Experian Information Solutions, Inc. (“Experian”). After Equifax and Experian

 reached settlements with Rubin and were dismissed from the case, HSBC settled

 with Plaintiff for $250,000 plus costs and attorneys’ fees. Plaintiff filed this motion

 for attorneys’ fees, costs, and expenses, seeking $728,998 in attorneys’ fees, $5,565

 in taxable costs, and $15,450 in non-taxable expenses. For the following reasons,


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 Plaintiff’s motion is GRANTED to the extent that Plaintiff is awarded $550,506.50

 in attorneys’ fees, $5,565 in taxable costs, and $15,450 in non-taxable expenses.

                                  I.    OVERVIEW

       The party seeking a fee award must establish both the reasonableness of the

 rates charged and the necessity for the hours spent. See Hensley v. Eckerhart, 461

 U.S. 424, 437 (1983). Defendant challenges the reasonableness of the hourly rates

 sought for four lawyers, one law clerk/associate and a paralegal, as well as the

 reasonableness of the time they spent. The requested hourly rates are as follows: For

 the four lawyers, $1,185, $795, $760, and $445; for the law clerk, $325 when a law

 clerk and $445 as an associate; for the paralegal, $125.

       Defendant asserts that Plaintiff “fails to offer any satisfactory evidence to

 justify why the Court should deviate from the recently articulated law of this District,

 which provides that a reasonable hourly rate is ‘$300-$450 per hour for partners,

 $200-$300 per hour for senior associates, $100-$200 per hour for junior associates,

 and $70-$100 per hour for paralegals.’” Dkt. 150 at 1 (citing Zaslavsky v. Weltman,

 Weinberg & Reiss Co, LPA, 2022 WL 1003589, at *11 (E.D.N.Y. Jan 5, 2022)).

       This decision will explain why those rates have no currency and what the new

 rates should be.




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                             II.       BACKGROUND

       The following facts are taken from the pleadings, the parties’ Rule 56.1

 statements, and the supporting documentation. The facts are undisputed.

       The dispute concerns alleged credit-card fraud. Around October 9, 2019,

 Rubin applied for an HSBC Gold MasterCard, which HSBC approved. HSBC

 shipped the credit card to Rubin’s home address, but Rubin contends that he never

 received the card in the mail and accordingly reported the theft to the New York

 Police Department (“NYPD”) and the United States Postal Service (“USPS”).

       On October 17, 2019, a caller using Rubin’s telephone number activated the

 account by providing (1) the 16-digit HSBC credit card number, (2) the 3-digit CVC

 number, and (3) the last four digits of Rubin’s Social Security account. Rubin

 suspects that a thief may have used a “spoofing” method to disguise the call as

 having come from his phone number. HSBC had no anti-spoofing measures in place

 at the time. Two minutes later, HSBC received another call from Rubin’s phone

 number that lasted only 79 seconds.

       That same day, a $1,850.85 purchase using the card was made at BJ’s

 Wholesale, Inc. (“BJ’s”). Rubin did not have a BJ’s membership required to make

 the purchase and was over a hundred miles away from where the purchase was made.

 Minutes after the BJ’s purchase, the card was used to make another purchase at




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 Target. But HSBC flagged that attempted purchase as fraudulent and disabled the

 card.

         At that point, HSBC sent Rubin a fraud alert. Rubin then contested the BJ’s

 purchase as fraudulent. HSBC allegedly investigated the fraud dispute but had a

 policy to deny disputes involving cards seemingly activated from a consumer's

 telephone number unless the consumer knew who had stolen and activated the card.

 Accordingly, HSBC denied the fraud dispute. When Rubin failed to make the

 payment, HSBC reported the account as delinquent to consumer reporting agencies

 (“CRAs”) and the former parties in this litigation, Experian and Equifax.

         Rubin again disputed the subject account with the CRAs, which transmitted

 the disputes to HSBC. HSBC once again denied Rubin’s disputes and verified the

 charges to the CRAs. Rubin subsequently sued HSBC, alleging that it had violated

 the FCRA by failing to conduct a proper investigation of his dispute in negligent

 and/or willful violation of the FCRA. See 15 U.S.C. § 1681s–2(b)(1).

         Ultimately, after failed settlement negotiations and the Court’s denial of

 Defendant’s motion for summary judgment, the parties settled the litigation for

 $250,000 plus attorneys’ fees and costs.




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                                III.   DISCUSSION

                                 A. Attorneys’ Fees

       As the Second Circuit’s decision in Arbor Hill reflects, arriving at the right

 calculus for fixing attorneys’ fees has bedeviled courts for years. Arbor Hill

 Concerned Citizens Neighborhood Ass’n v. Cnty. of Albany, 522 F.3d 182, 183–84

 (2d   Cir.   2008).   The    challenge    entailed   harmonizing     the   traditional

 “lodestar” approach with the so-called Johnson approach. As the Second Circuit

 explained in Simmons:

       In Arbor Hill, we undertook to simplify the complexities surrounding
       attorney’s fees awards that had accumulated over time under the
       traditional “lodestar” approach to attorney’s fees (the product of the
       attorney’s usual hourly rate and the number of hours worked, which
       could then be adjusted by the court to set “the reasonable fee”), and the
       separate “Johnson” approach (a one-step inquiry that considered twelve
       specified factors to establish a reasonable fee). 493 F.3d at 114. Relying
       on the substance of both approaches, we set forth a standard that we
       termed the “presumptively reasonable fee.” Id. at 118. We directed
       district courts, in calculating the presumptively reasonable fee, “to bear
       in mind all of the case-specific variables that we and other courts have
       identified as relevant to the reasonableness of attorney’s fees in setting
       a reasonable hourly rate.” Id. at 117 (emphasis in original). The
       presumptively reasonable fee boils down to “what a reasonable, paying
       client would be willing to pay,” given that such a party wishes to “spend
       the minimum necessary to litigate the case effectively.” Id. at 112, 118.




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     Simmons v. N.Y.C. Transit Auth., 575 F.3d 170, 174 (2d Cir. 2009).1 The Circuit

     Court subsequently reinforced this analysis in Lilly v. City of New York, 934

     F.3d 222, 227–30 (2d Cir. 2019).

          The presumptively reasonable fee is calculated by multiplying the reasonable

 hourly rate by the reasonable number of hours worked. See Arbor Hill, 522 F.3d at

 183; Lilly, 934 F.3d at 230. Determining the reasonable hourly rate begins by

 applying the “forum rule,” which requires courts to “generally use ‘the hourly rates

 employed in the district in which the reviewing court sits’ in calculating the

 presumptively reasonable fee.” Arbor Hill, 522 F.3d at 192 (quoting In re Agent

 Orange Prod. Liab. Litig., 818 F.2d 226, 232 (2d Cir. 1987)); see also Simmons, 575

 F.3d at 174.

                                1. Reasonable Hourly Rate

                                     a. The Forum Rule

          Throughout the years a body of caselaw has evolved in the Eastern District

     establishing these forum rule rates. As will be seen, infra, they have been the same

     for at least the past thirteen years. How they were derived is a mystery. There is no

     well-articulated rationale. Conceptually, the rates are supposed to reflect “what a



 1
  Arbor Hill Concerned Citizens Neighborhood Ass'n v. Cnty. of Albany, 493 F.3d 110 (2d
 Cir. 2007) was amended and superseded by Arbor Hill Concerned Citizens Neighborhood
 Ass'n v. Cnty. of Albany & Albany Cnty. Bd. of Elections, 522 F.3d 182 (2d Cir. 2008).

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 reasonable, paying client would be willing to pay,” given that such a party wishes

 to “spend the minimum necessary to litigate the case effectively.” Arbor Hill, 493

 F.3d at 118. It is a lofty standard, but it is fantastical. How is anyone able to calculate

 what that mystical reasonable paying client was willing to pay?

       Historically, the Eastern District courts have been making reasonability

 determinations for decades out of whole cloth. Predictably, the rates found to be

 reasonable 30 or 40 years ago were lower than the current ranges. They tended to

 climb upward in fits and starts, rather than evolving in a systematic, discernible

 fashion correlated to that nebulous “reasonable paying client” standard. See. e.g.,

 King v. JCS Enters., Inc., 325 F. Supp. 2d 162, 171 (E.D.N.Y. 2004) (“[T]he Court

 deems the following rates to have been prevailing in the Eastern District of New

 York in the early to mid-1990s: $200 and up for partners (the higher end of the scale

 reserved for highly experienced partners in the relevant field); $125–$155 for

 associates; and $65–$75 for law clerks.”). Travelling further back in time, one finds

 correspondingly lower reasonable-rate determinations. See, e.g., Barr v. United

 Parcel Serv., 1987 WL 18779, at *3 (E.D.N.Y. Oct. 14, 1987) (finding reasonable

 rate for pre-1993 work to be $100 per hour).

       Adjustments and increases to those rates have tended to come in an ad hoc

 fashion based on indeterminate factors, including inflation. See, e.g., Orshan v.

 Macchiarola, 629 F. Supp. 1014, 1021 (E.D.N.Y. 1986) (“[T]he reasonable hourly

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 rate [determined to now be $125 per hour] should reflect historic rates, with

 consideration given to inflation and the delay in the attorney's receipt of payment”);

 Priv. Sanitation Union Loc. 813, Int’l Bhd. of Teamsters v. Gaeta-Serra Assocs.,

 Inc., 2005 WL 2436194, at *3 (E.D.N.Y. Aug. 12, 2005), R & R adopted, 2005 WL

 2429311 (E.D.N.Y. Sept. 30, 2005) (citing King and finding slightly higher rates

 reasonable after “adjusting for inflation”).

       Moreover, with two exceptions, the courts have not prescinded between the

 nature or type of case. Although “[s]ometimes legal markets may be defined by

 practice area,” Arbor Hill, 522 F.3d at 192, this apparently has never been the case

 in the Eastern District. Thus, as an example, although Zaslavsky was a Fair Debt

 Collection Practices Act (“FDCPA”) case, the same hourly rates have also been

 applied for partners in FCRA cases, although they are a world apart. See Grice v.

 Pepsi Beverages Co., 363 F. Supp. 3d 401, 411 (S.D.N.Y. 2019); Rodriguez v.

 Pressler & Pressler, LLP, 2009 WL 689056, at *1 (E.D.N.Y. Mar. 16, 2009); Rudler

 v. Houslanger & Assocs., PLLC, 2020 WL 473619, at *4 (E.D.N.Y. Jan. 29, 2020).

 The FDCPA governs the conduct of third-party debt collectors, and caps actual

 damages at $1,000. 15 U.S.C. § 1692k(a)(2)(A). In contrast, the FCRA allows

 punitive damages, 15 U.S.C. § 1681n, for destroying one’s credit, raising the stakes,

 and resulting in potentially protracted litigation. Such, presumably, was this case,




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     which explains how Plaintiff’s initial loss of $1,850.85 blossomed into the $250,000

     settlement.

          There are other examples of the habit of the Eastern District courts to refrain

     from setting different rates for different practice areas since the current rates were

     fixed many years ago. See, e.g., Pall Corp. v. 3M Purification Inc., 2012 WL

     1979297, at *4 (E.D.N.Y. June. 1, 2012) (finding “reasonable hourly rates to be

     approximately $300-$450 for partners, $200-325 for senior associates, and $100-

     $200 for junior associates” for intellectual property cases;2 Sass v. MTA Bus Co., 6

     F. Supp. 3d 238, 261 (E.D.N.Y. 2014) (same for Title VII cases); Torcivia v. Suffolk

     Cnty., 437 F. Supp. 3d 239, 252 (E.D.N.Y. 2020) (same for § 1983 cases); Sung v.

     Top Sys. Alarm Inc., 2024 WL 2312455, at *6 (E.D.N.Y. May 22, 2024) (same for

     Fair Labor Standards Act (“FLSA”) cases); U.S. ex rel. Doe v. Acupath Lab’ys. Inc.,

     2015 WL 1293019, at *6 (E.D.N.Y. Mar. 19, 2015) (same for qui tam cases); Lowery

     v. Fire Talk LLC, 2020 WL 5441785, at *6 (E.D.N.Y. June 29, 2020), R & R

     adopted, 2020 WL 542768 (E.D.N.Y. Sept. 10, 2020) (same for copyright

     infringement cases); Cleanup v. Brooklyn Transfer LLC, 373 F. Supp. 3d 398, 404

     (E.D.N.Y, 2019) (same for environmental cleanup cases); US Foods, Inc. v. Kokoro



 2
   The court also fixed the hourly rate for paralegals at $75. But the range was soon
 thereafter fixed at $70-$100. Janus v. Regalis Const., Inc., 2012 WL 3878113, at *12
 (E.D.N.Y. July 23, 2012), R & R adopted, 2012 WL 3877963 (E.D.N.Y. Sept. 4, 2012).

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     Partners, LLC, 2023 WL 3007171, at *1 (E.D.N.Y. Apr. 19, 2023) (same for breach

     of contract cases); Kindle v. Dejana, 308 F. Supp. 3d 698, 704 (E.D.N.Y. 2018)

     (same for ERISA cases). It has basically been a “one shoe fits all” dynamic.

          The courts, of course, have appropriately considered a host of variables, such

 as the Johnson factors,3 in fixing the fee within the range. But awarding fees outside

 the range is reserved for rare occasions. See Perdue v. Kenny A. ex rel. Winn, 559

 U.S. 542, 553–54 (2010) (finding that fee can be more or less than the forum fee “in

 those rare circumstances in which the lodestar does not adequately take into account

 a factor that may properly be considered in determining a reasonable fee”). Those

 occasions would require “specific evidence that the lodestar fee would not have been

 ‘adequate to attract competent counsel.’” Id. at 554; see, e.g., Simmons, 575 F.3d at

 175 (explaining that out-of-district counsel can only be selected “because doing so

 would likely (not just possibly) produce a substantially better net result”).

           There are a handful of cases in the Eastern District where courts have awarded

 hourly rates above the forum rule range of $300 to $450 for partners. See Aptive



 3
  These are: “(1) the time and labor required; (2) the novelty and difficulty of the questions;
 (3) the level of skill required to perform the legal service properly; (4) the preclusion of
 employment by the attorney due to acceptance of the case; (5) the attorney's customary
 hourly rate; (6) whether the fee is fixed or contingent; (7) the time limitations imposed by
 the client or the circumstances; (8) the amount involved in the case and the results obtained;
 (9) the experience, reputation, and ability of the attorneys; (10) the ‘undesirability’ of the
 case; (11) the nature and length of the professional relationship with the client; and (12)
 awards in similar cases.” Johnson v. Ga. Highway Express, Inc., 488 F.2d 714 (5th Cir.
 1974), abrogated on other grounds by Blanchard v. Bergeron, 489 U.S. 87, 92–93 (1989).
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 Env’t, LLC v. Vill. of E. Rockaway, 2022 WL 5434178, at *4 (E.D.N.Y 2022) (citing

 EDNY cases awarding $600 hourly rates). But, in keeping with the Supreme Court’s

 caveat in Perdue, they are best viewed as rare cases.

        Notably, the Second Circuit in Lilly has cautioned, in discussing Perdue, “that

 the novelty and complexity of a case generally may not be used as a ground for an

 enhancement or reduction because those factors are already reflected in the

 reasonable hourly rate and reasonable hours billed (i.e., the lodestar).” Lilly, 934

 F.3d at 232. It recognized, however, that the Johnson factors “may also, in

 exceptional cases, determin[e] whether an enhancement or cut to the lodestar is

 warranted.” Id. at 233.

       As for the two exceptions: first, courts grant a percentage-of-the-award fee in

 class action litigation pursuant to the factors set forth in Goldberger v. Integrated

 Res., Inc., 209 F.3d 43, 47 (2d Cir. 2000).4 Second, higher hourly rates are the norm

 in social security cases, but they are a unique carveout because Congress statutorily

 authorizes a reasonable fee of up to “25% of the total of the past due benefits to

 which the claimant is entitled.” 42 U.S.C. § 406(b); see also Fields v. Kijakazi, 24

 F.4th 845, 855–56 (2d Cir. 2022) (“Lawyers who operate on contingency—even the



 4
   These are: “(1) the time and labor expended by counsel; (2) the magnitude and
 complexities of the litigation; (3) the risk of the litigation; (4) the quality of representation;
 (5) the requested fee in relation to the settlement; and (6) public policy considerations.”
 Goldberger, 209 F.3d at 50.
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 very best ones—lose a significant number of their cases and receive no

 compensation when they do.”); Wells v. Sullivan, 907 F.2d 367, 371 (2d Cir. 1990)

 (“In the absence of a fixed-fee agreement, payment for an attorney in a social

 security case is inevitably uncertain, and any reasonable fee award must take account

 of that risk.”); McDonald v. Kijakazi, 635 F. Supp. 3d 721, 725 (S.D. Iowa 2022)

 (“Because attorneys in these cases face significant risk of not being paid, courts

 allow hourly rates of up to $1,000 an hour.”).

                                        ***

       There is yet another dynamic at play. As reflected in the compilation of the

 cases showing that the same rates have been applied regardless of the practice area,

 supra, the Eastern District courts have been regurgitating these rates for many years

 without updating them for inflation and market conditions. For example, in

 Rodriguez, the court fixed the hourly rate for partners in 2009 at $300-$450. 2009

 WL 689056 at *1. But the first case which this Court’s research located fixing all

 the current hourly rates for partners, associates, junior associates and paralegals was

 in 2012 in Pall Corp., 2012 WL 1979297 at *4. Rates have also remained stagnant

 in virtually all other cases. See, e.g., Sass, 6 F. Supp. 3d at 261 (same rates for Title

 VII case in 2014); Acupath Lab’ys. Inc., 2015 WL 1293019 at *6 (same rates for qui

 tam case in 2015); Kindle, 308 F. Supp. 3d at 704 (same rates for ERISA case in

 2018); Cleanup, 373 F. Supp. 3d at 404 (same rates for environmental cleanup case

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 in 2019); Torcivia, 437 F. Supp. 3d at 252 (same rates for § 1983 case in 2020);

 Lowery, 2020 WL 5441785 at *6 (same rates for copyright infringement case in

 2020); Kokoro Partners, 2023 WL 3007171 at *1 (same rates for breach of contract

 case in 2023); Sung, 2024 WL 2312455 at *6 (same rates for FLSA case in 2024).

       They are classic examples of blind adherence to outdated precedent and a

 perfect example of the pitfalls in following the calf’s path.

       I.

       One day through the primeval wood
       A calf walked home as good calves should;

       But made a trail all bent askew,
       A crooked trail as all calves do.

       Since then three hundred years have fled,
       And I infer the calf is dead.

       II.

       But still he left behind his trail,
       And thereby hangs my moral tale.

       The trail was taken up next day,
       By a lone dog that passed that way;

       And then a wise bell-wether sheep
       Pursued the trail o'er vale and steep,

       And drew the flock behind him, too,
       As good bell-wethers always do.

       And from that day, o'er hill and glade.
       Through those old woods a path was made.

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       III.

       And many men wound in and out,
       And dodged, and turned, and bent about,

       And uttered words of righteous wrath,
       Because 'twas such a crooked path;

       But still they followed—do not laugh—
       The first migrations of that calf,

       And through this winding wood-way stalked
       Because he wobbled when he walked.

       IV.

       This forest path became a lane,
       That bent and turned and turned again;

       This crooked lane became a road,
       Where many a poor horse with his load

       Toiled on beneath the burning sun,
       And traveled some three miles in one.

       And thus a century and a half
       They trod the footsteps of that calf.

       V.

       The years passed on in swiftness fleet,
       The road became a village street;

       And this, before men were aware,
       A city's crowded thoroughfare.

       And soon the central street was this
       Of a renowned metropolis;

       And men two centuries and a half,
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       Trod in the footsteps of that calf.

       VI.

       Each day a hundred thousand rout
       Followed the zigzag calf about

       And o'er his crooked journey went
       The traffic of a continent.

       A Hundred thousand men were led,
       By one calf near three centuries dead.

       They followed still his crooked way,
       And lost one hundred years a day;

       For thus such reverence is lent,
       To well established precedent.

       Sam Foss, The Calf-Path, Poets.org, https://poets.org/poem/calf-path (last

 visited Jan. 17, 2025) (I–VI).

       I always read this poem to my new law clerks and yet I must confess to

 recently following the calf’s path myself. See Kokoro Partners, 2023 WL 3007171

 at *1 (approving hourly rates in 2023 for up to $450 for partners, $200 to $325 for

 senior associates, $100 to $200 for junior associates, and $70 to $100 for paralegals).

       Times have changed. “[A]ttorney’s fees, like other goods and services,

 increase in cost with inflation.” Almond v. PJ Far Rockaway, Inc., 2018 WL 922184,

 at *2 (E.D.N.Y. Feb. 15, 2018). Retaining the same rates as far back as at least 2012

 is no longer sustainable. Moreover, it runs counter to the admonition of the Supreme

 Court that the lodestar should be “current rather than historic hourly rates.”
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 Gerlinger v. Gleason, 160 F.3d at 858, 882 (2d Cir. 1998) (quoting Missouri v.

 Jenkins, 491 U.S. 274, 284 (1989)); see also LeBlanc-Sternberg v. Fletcher, 143 F.3d

 748, 764 (2d Cir. 1998) (instructing district court on remand in seven-year litigation

 to apply “current rates, rather than historical rates”).

          But what should the new rates be? Adjusted for inflation, the rates used in

 Pall Corp in 2012 would be the following today:

                                 2012                          20255

     Partners                    $300-$450                     $413-$619

     Senior Associates           $200-$300                     $275-$413

     Junior Associates           $100-$200                     $137-$275

     Paralegals                  $70-$100                      $96-$137



          Inflation is the general increase in prices of goods and services, which results

 in a decrease in the purchasing value of money. The average inflation rate over the

 past thirteen years was 2.6% per year, with an anomalous peak of 8% in 2022.6



 5
   Adjusted for inflation and rounded up. CPI Inflation Calculator, U.S. Bureau of Labor
 Statistics, https://www.bls.gov/data/inflation_calculator.htm (last visited Jan. 20, 2025).
 The latest inflation data available as of the time of this opinion is from December 2024. As
 a matter of common sense, the Court believes in all probability that it would essentially be
 the same rate as of January 1, 2025.
 6
   See Current US Inflation Rates: 2000-2025, US Inflation Calculator,
 https://www.usinflationcalculator.com/inflation/current-inflation-rates/ (last visited Jan.
 20, 2025). Note that while both footnotes 5 and 6 refer to inflation calculators, the
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 Inflation rates have since decreased to 4.1% in 2023 and 2.9% in 2024.7 Despite the

 high inflation rate of 2022, updating for inflation to 2025 is logical for three reasons.

        First, inflation is a cumulative measure. The rate of inflation in the single year

 of 2022 is just one data point in a thirteen-year period. What matters is the total

 change in purchasing power from 2012 to 2025, not the change in any single year.

 Second, real purchasing power is the relevant consideration. $450 in 2012

 represented a specific amount of purchasing power—the goods and services one

 could buy with that money. To buy the same basket of goods in 2025, it cost $619.8

 Third, historical accuracy requires including all years. Opting to ignore certain years

 of inflation because they seem abnormal would create an inaccurate picture of how

 prices changed. High inflation years are as much a part of economic history as low

 inflation years; both must be included to properly track changes in purchasing power.

        Adjusted for inflation and market conditions,9 I have rounded out the forum



 website for this footnote lists inflation rates for every year between 2000 and 2025, while
 the calculator in footnote 5 calculates the amount that money is worth in a particular year.
 7
   Id. Of course, the inflation rate for 2025 has yet to be calculated.
 8
   See U.S. Bureau of Labor Statistics, supra note 5.
 9
   See William Josten, What the “State of the US Legal Market” report showed about law
 firm billing rate performance in 2023 and where it may go in 2024, THOMSON REUTERS
 (Feb. 5, 2024), https://www.thomsonreuters.com/en-us/posts/legal/sotlm-2024-law-firm-
 billing-rate-performance/ (“It’s important to note that growth in law firm rates was not
 pegged to inflation, but nevertheless, the result remained that law firms typically had a
 comfortable cushion above one of the forces driving increases in their expenses. However,
 that cushion disappeared in 2022 as inflation spiked. For the first time, the relationship
 between average law firm worked rates and inflation actually inverted, giving law firms a
 basis upon which to seek higher rate increases.”)
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 rates in the Eastern District to now be $450-$650 for partners,10 $300-$450 for senior

 associates, $150-$300 for junior associates, and $100-$150 for paralegals.

 Moreover, some stability is sensible in order to avoid having to establish new rates

 every year; accordingly, barring major inflationary deviations, I would not revisit

 them for five years.

                                      b. Application

       Having adjusted the forum rule ranges, the Court must now determine the

 reasonable hourly rates for each attorney and the paralegal.

                                       Robert Sola

       Sola, a partner, seeks an hourly rate of $1,185. To support the claimed hourly

 rate, he relies on his experience litigating FCRA cases since 1997, serving as lead

 trial counsel in several. Dkt. 146 at 4–7. He does not have a standard hourly rate in

 New York City. Id. at 3.

       FCRA cases tend to be more complex than simpler consumer cases like

 FDCPA suits because of the availability of punitive damages and the ensuing

 increased stakes. This case involved expert witnesses, numerous discovery disputes,

 eleven depositions, and a motion for summary judgment.




 10
   The highest end for partners is warranted since the old $300-$450 rate dates back to at
 least 2009. See Rodriguez, 2009 WL 689056 at *1.
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       While the Court recognizes Sola’s qualifications, his requested $1,185 hourly

 rate exceeds the updated new forum rate. But his skills and consummate

 qualifications warrant a fee at the highest end of the hourly range. The Court

 therefore fixes his hourly rate at $650.

                                     Kevin Mallon

       Mallon, a partner, seeks an hourly rate of $795. He has been litigating

 consumer cases for 24 years and specializing in FCRA cases for 19 years. Dkt. 145

 at 4–5. He has spoken at multiple FCRA conferences. Id.

       The Court finds that the issues in this case do not warrant that hourly rate.

 Mallon has less experience litigating FCRA cases than Sola. Considering the updated

 hourly rates in this District and all other Johnson factors, the Court reduces Mallon’s

 hourly rate to $620.

                                     Adam Singer

       Singer, a partner, seeks an hourly rate of $760. He has been practicing law for

 20 years and specializing in FCRA cases for 13 years. Dkt. 135 at 1–3. He has spoken

 at multiple FCRA conferences. Id. at 2–3.

       While Singer and Mallon have similarly impressive qualifications, Singer has

 been specializing in FCRA cases for six fewer years. Considering the updated hourly

 rates in this District and all other Johnson factors, the Court reduces Singer’s hourly

 rate to $600.

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                                    Richard Kraus

         Kraus, presumably a senior associate, seeks an hourly rate of $445. Kraus has

 been practicing law since 2017 and litigating FCRA cases since 2021, when he

 joined Singer’s law office. Dkt. 140 at 1. Considering the updated hourly rates in

 this District and all other Johnson factors, the Court reduces Kraus’ hourly rate to

 $350.

                                      Noah Kane

         Kane seeks an hourly rate of $325 as a law clerk and $445 as presumably a

 junior associate. He joined Singer’s law office as a law clerk in September 2022 and

 became an associate when he was admitted to practice in New York in January 2023.

 Id. at 4.

         “Judges in [the EDNY] generally compensate law clerks at the same rates as

 paralegal assistants.” Burkett v. Houslanger & Assocs., PLLC, 2020 WL 7000188, at

 *3 (E.D.N.Y. July 23, 2020), R & R adopted as modified, 2020 WL 5834429

 (E.D.N.Y. Sept. 30, 2020). Considering the updated hourly rates in this District and

 all other Johnson factors, the Court reduces Kane’s hourly rate as a junior associate

 to $275 and hourly rate as a law clerk to $125.

                                   Thomas Guarino

         Guarino seeks an hourly rate of $125. He has been working as a paralegal for

 7 years. Dkt. 140 at 6. Considering the updated hourly rates in this District and all

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 other Johnson factors, the Court now considers Guarino’s hourly rate of $125 to be

 reasonable.

                            2. Reasonable Number of Hours

        The Court determines that collectively the attorneys and the paralegal

 reasonably expended 1331.1 hours of time, as evidenced by well-documented and

 detailed explanations of their work. 11 See Dagostino, 238 F. Supp. 3d at 413 (holding

 fee applications should be supported by contemporaneously created time records that

 specify, for each attorney, date, hours expended, and nature of the work done)

        Defendant argues that the hours billed are excessive for a straightforward

 FCRA case. HSBC challenges the billing practices on several grounds: duplicative

 work performed by multiple attorneys reviewing the same documents and attending

 the same conferences; unnecessary time spent on fruitless third-party subpoenas;

 improper billing of clerical tasks at attorney rates; and inflated hours spent on routine

 legal research and writing. Based on these alleged deficiencies, Defendant seeks a

 50% reduction in the claimed hours.




 11
   The Court did not expend judicial resources to independently confirm that Plaintiff has
 correctly calculated each of the time charges given the prohibitively time-intensive nature
 of such an undertaking. Courts “need not, and indeed should not, become green-eyeshade
 accountants.” Centro de la Comunidad Hispana de Locust Valley v. Town of Oyster Bay,
 2019 WL 2870721, at *3 (E.D.N.Y. June 18, 2019) (citation omitted), R & R adopted, 2019
 WL 2869150 (E.D.N.Y. July 3, 2019).
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       The Court finds these arguments unpersuasive. Defendant’s characterization

 of this case as being straightforward is at odds with its own litigation conduct and

 the exceptional result of a $250,000 settlement. Defendant engaged in aggressive

 discovery resistance, filed numerous motions, and delayed production of key

 witnesses.

       And despite arguing that these hours should be decreased by 50%, Defendant

 specifically identifies only 2% of the time billed as unnecessary. But Defendant’s

 arguments about even those 18.3 hours miss the mark for three reasons. First, the

 involvement of multiple attorneys reflects strategic collaboration rather than

 inefficiency. Second, Defendant’s own aggressive litigation strategy necessitated

 many of these hours. Third, the hours were well-spent and necessary considering the

 successful results obtained—including the favorable settlement and denial of

 Defendant’s summary judgment motion. Thus, the Court deems reasonable the hours

 claimed by counsel.

       Therefore, the presumptively reasonable fee is $550,506.50, calculated as

 follows:




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         Name                        Hourly Rate Hours            Total

         Robert Sola                 $650            27.10        $17,615

         Kevin Mallon                $620            206.70       $128,154

         Adam Singer                 $600            295.4        $177,240

         Richard Kraus               $350            528.2        $184,870

         Noah Kane (Associate)       $275           56.1          $15,427.50

         Noah Kane (Law Clerk) $125                 4.4           $550

         Thomas Guarino              $125            213.2        $26,650

         Total                                       1331.1       $550,506.50


                                B. Costs & Expenses

       “An award of costs normally include[s] those reasonable out-of-pocket

 expenses incurred by the attorney and which are normally charged fee-paying

 clients.” Fisher v. SD Prot. Inc., 948 F.3d 593, 600 (2d Cir. 2020) (internal quotation

 marks and citation omitted). “The fee applicant must submit adequate

 documentation supporting the requested attorneys’ fees and costs.” Id.

       Plaintiff requests $5,565 in taxable costs and $15,450 in non-taxable

 expenses. Defendant argues that $3,440 should be deducted from costs to be awarded


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 to Plaintiff because Defendant incurred these costs when Plaintiff deposed

 Defendant’s expert witness. See Fed. R. Civ. P. 26(b)(4)(E) (“Unless manifest

 injustice would result, the court must require that the party seeking discovery: (i)

 pay the expert a reasonable fee for time spent in responding to discovery under Rule

 26(b)(4)(A)[.]”).

       Be that as it may, the FCRA’s fee-shifting provision is one-sided, enabling

 only the prevailing party to recover costs. 15 U.S.C. § 1681o(a)(2). Defendant did

 not prevail. Thus, any costs awarded to Plaintiff will not be decreased by the $3,440

 that Defendant incurred.

       Having reviewed the Singer Reply Declaration, Dkt. 152, the bill for costs,

 Dkt. 148, and the expenses, Dkt. 137, the Court deems reasonable these out-of-

 pocket expenses and grants Plaintiff’s request for taxable costs and non-taxable

 expenses.

                               IV.    CONCLUSION

       The Court awards Plaintiff $550,506.50 in attorneys’ fees, $5,565 in taxable

 costs, and $15,450 in non-taxable expenses, for a total of $571,521.50.

 SO ORDERED.

                                               _/S/ Frederic Block_______
                                               FREDERIC BLOCK
                                               Senior United States District Judge
 Brooklyn, New York
 January 21, 2025

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